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                        FOR THE TWELFTH JUDICIAL DISTRICT AT
                      WINCHESTER, FRANKLIN COUNTY, TENNESSEE

FREEMAN M. FROTHINGHAM, JR., AS
EXECUTOR OF THE ESTATE OF AND FOR
USE AND BENEFIT OF THE STATUTORY
BENEFICIARIES  OF    FREEMAN   M.
FROTHINGHAM, SR., DECEASED,

       PLAINTIFF,
                                                       AMENDED         COMPLAINT             FOR
       vs.                                             DAMAGES

GGNSC WINCHESTER, LLC d/b/a Golden
LivingCenter – Mountain View; GPH
WINCHESTER, LLC; GGNSC EQUITY
HOLDINGS,    LLC; GGNSC    CLINCAL CAUSE NO: 4:12-cv-00035
SERVICES,    LLC;  GOLDEN     GATE JURY DEMANDED
NATIONAL SENIOR CARE, LLC; GGNSC
ADMINISTRATIVE    SERVICES,    LLC;
GOLDEN GATE ANCILLARY, LLC; GGNSC
HOLDINGS, LLC; and 360 HEALTHCARE
STAFFING, LLC

       DEFENDANTS.


       Plaintiff, complaining of Defendants, alleges and says:

                            I. INTRODUCTION & DEFINITIONS

       1.      All allegations in this Complaint are based upon information and belief except for

those allegations which pertain to the Plaintiff, the persons, and estate the Plaintiff represents,

and Plaintiff’s counsel.   Plaintiff’s information and belief are based upon, inter alia, the

investigation conducted to date by Plaintiff and his counsel. Each allegation in this Complaint

either has evidentiary support or is likely to have evidentiary support after a reasonable

opportunity for further investigation and discovery.




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       2.      The acts and omissions of Defendants as set out below are violations of the

Tennessee Nursing Home Residents’ Rights Act (Tenn. Code Ann. § 68-11-101, et seq.) and its

implementing regulations (Nursing Home Rules and Regulations § 1200-8-6, et seq.), as well as

the Tennessee Adult Protection Act (Tenn. Code Ann. § 71-6-101, et seq.).

       3.      Plaintiff contends that the violation of the statutes and regulations set out in the

paragraphs below give rise to a separate cause of action. Moreover, the violation of such statutes

and regulations are evidence of negligence and/or medical negligence.

       4.      When the terms “Defendants” or “Corporate Defendants” are used in this action,

such term refers to and includes each named Defendant in this lawsuit.

       5.      When the term “facility” is used in this action, such terms refer to and mean

Golden LivingCenter – Mountain View located at 1360 Bypass Road, Winchester, Franklin

County, Tennessee 37398.

       6.      When it is alleged in this action that Defendants or Corporate Defendants did any

act or thing or failed to do any act or thing, it means that the officers, agents, or employees of the

designated corporation(s) and/or business entity(ies) respectively performed, participated in, or

failed to perform such acts or things while in the course and scope of their employment or

agency relationships with Defendants or Corporate Defendants.

                                         II. PLAINTIFF

       7.      At all times relevant to this cause of action, Freeman M. Frothingham, Sr., upon

information and belief, as well as by a reading of the Facility’s nursing home records, was an

incompetent adult (both physical and mental) resident of Winchester, Franklin County,

Tennessee.




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       8.      As such, Plaintiff affirmatively pleads that any statute of limitations would be

tolled until Freeman M. Frothingham, Sr. passed away on or about February 4, 2011; further

Defendants are estopped from denying such tolling by virtue of its own records.

       9.      At all times relevant to this cause of action, Freeman M. Frothingham, Jr. was,

upon information and belief, an adult resident citizen of Morrison, Warren County, Tennessee.

Freeman M. Frothingham, Jr. is the son of Freeman M. Frothingham, Sr..

       10.     Freeman M. Frothingham, Jr. brings this action as the Executor of the Estate of

and for the Use and Benefit of Freeman M. Frothingham, Sr.’s statutory beneficiaries.

                                      III. DEFENDANTS

       11.     On information and belief, Defendant GGNSC Winchester, LLC (“GGNSC

Winchester”) is and was at all times relevant hereto engaged in the operation, management,

ownership and/or control of Golden LivingCenter – Mountain View located in Franklin County,

Tennessee with its principal place of business located at 1360 Bypass Road, Winchester,

Tennessee 37398. Defendant GGNSC Winchester was also the licensee of the Facility during all

times relevant to this Complaint.      Defendant GGNSC Winchester’s business of owning,

operating, managing and maintaining the Facility, during all times material to this lawsuit, serves

as the basis for the causes of action set forth in this Complaint for Damages. Defendant GGNSC

Winchester may be served with legal process through its registered agent for service of process,

Corporation Service Company, 2908 Poston Avenue, Nashville, Tennessee 37203-1312.

       12.     On information and belief, Defendant GPH Winchester, LLC (“GPH

Winchester”) is and was at all times relevant hereto engaged in the operation, leasing,

management, ownership and/or control of Golden LivingCenter – Mountain View located in

Franklin County, Tennessee with its principal place of business located at 1000 Fianna Way, Fort



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Smith, Arkansas 72919. Defendant GPH Winchester was also the owner of the real estate where

the Facility was located during all times relevant to this Complaint.                Defendant GPH

Winchester’s business of owning, leasing, operating, managing and maintaining nursing homes,

healthcare, and long-term care facilities, including the Facility, during all times material to this

lawsuit, serves as the basis for the causes of action set forth in this Complaint for Damages.

Defendant GPH Winchester may be served with legal process through its registered agent for

service of process, Corporation Service Company, 2908 Poston Avenue, Nashville, Tennessee

37203-1312.

       13.     On information and belief, Defendant GGNSC Equity Holdings, LLC (“GGNSC

Equity”) is and was at all times relevant hereto engaged in the operation, leasing, management,

ownership and/or control of Golden LivingCenter – Winchester located in Franklin County,

Tennessee with its principal place of business located at 1000 Fianna Way, Ft. Smith, Arkansas

72919. Defendant GGNSC Equity was also the Master Tenant of the real estate where the

Facility is located during all times relevant to this Complaint. Defendant Equity’s business of

owning, leasing, operating, managing and maintaining nursing homes, healthcare, and long-term

care facilities, including the Facility, during all times material to this lawsuit, serves as the basis

for the causes of action set forth in this Complaint for Damages. Defendant GGNSC Equity may

be served with legal process through its registered agent for service of process, Corporation

Service Company, 300 Spring Building, Suite 900, 300 S. Spring Street, Little Rock, Arkansas

72201. Defendant GGNSC Equity is also the Limited Liability Company Member of Co-

Defendant GGNSC Winchester.




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       14.     On information and belief, Defendant GGNSC Clinical Services, LLC (“GGNSC

Clinical”) is and was at all times relevant hereto engaged in the operation, oversight,

management, ownership and/or control of Golden LivingCenter – Winchester located in Franklin

County, Tennessee with its principal place of business located at 1000 Fianna Way, Ft. Smith,

Arkansas 72919.       Defendant GGNSC Clinical also provided certain clinical and other

professional services to the Facility pursuant to a written contract during all times relevant to this

Complaint. Defendant GGNSC Clinical’s business of owning, overseeing, operating, managing

and maintaining nursing homes, healthcare, and long-term care facilities, including the Facility,

during all times material to this lawsuit, serves as the basis for the causes of action set forth in

this Complaint for Damages. Defendant GGNSC Clinical may be served with legal process

through its registered agent for service of process, Corporation Service Company, 2908 Poston

Avenue, Nashville, Tennessee 37203-1312.

       15.     On information and belief, Defendant Golden Gate National Senior Care, LLC

(“Golden Gate”) is and was at all times relevant hereto engaged in the operation, oversight,

management, ownership and/or control of Golden LivingCenter – Winchester located in Franklin

County, Tennessee with its principal place of business located at 1000 Fianna Way, Ft. Smith,

Arkansas 72919. Defendant Golden Gate also hired the Facility’s Executive Director(s), as well

as controlled or had the right to control the financial decisions of the Facility during all times

relevant to this Complaint. Defendant Golden Gate’s business of owning, overseeing, operating,

managing and maintaining nursing homes, healthcare, and long-term care facilities, including the

Facility, during all times material to this lawsuit, serves as the basis for the causes of action set

forth in this Complaint for Damages. Defendant Golden Gate may be served with legal process

through its registered agent for service of process, Corporation Service Company, 2908 Poston



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Avenue, Nashville, Tennessee 37203-1312. Defendant Golden Gate is also the Limited Liability

Company Member of Co-Defendants GGNSC Equity and GGNSC Clinical.

       16.     On information and belief, Defendant GGNSC Administrative Services, LLC

(“GGNSC Administrative”) is and was at all times relevant hereto engaged in the operation,

oversight, management, ownership and/or control of Golden LivingCenter – Winchester located

in Franklin County, Tennessee with its principal place of business located at 1000 Fianna Way,

Ft. Smith, Arkansas 72919. Defendant GGNSC Administrative also provided certain business

and other professional services to the Facility pursuant to a written contract during all times

relevant to this Complaint. Defendant GGNSC Administrative’s business of owning, overseeing,

operating, managing and maintaining nursing homes, healthcare, and long-term care facilities,

including the Facility, during all times material to this lawsuit, serves as the basis for the causes

of action set forth in this Complaint for Damages. Defendant GGNSC Administrative may be

served with legal process through its registered agent for service of process, Corporation Service

Company, 2908 Poston Avenue, Nashville, Tennessee 37203-1312.

       17.     On information and belief, Defendant Golden Gate Ancillary, LLC (“Golden Gate

Ancillary”) is and was at all times relevant hereto engaged in the operation, servicing,

management, ownership and/or control of Golden LivingCenter – Winchester located in Franklin

County, Tennessee with its principal place of business located at 1000 Fianna Way, Ft. Smith,

Arkansas 72919. Defendant Golden Gate Ancillary’s business of owning, servicing, operating,

managing and maintaining nursing homes, healthcare, and long-term care facilities, including the

Facility, during all times material to this lawsuit, serves as the basis for the causes of action set

forth in this Complaint for Damages. Defendant Golden Gate Ancillary may be served with

legal process through its registered agent for service of process, Corporation Service Company,



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2908 Poston Avenue, Nashville, Tennessee 37203-1312. Defendant Golden Gate Ancillary is

also the Limited Liability Company Member of Co-Defendant 360 Healthcare Staffing, LLC

(“360 Healthcare”).

       18.     On information and belief, Defendant GGNSC Holdings, LLC (“GGNSC

Holdings”) is and was at all times relevant hereto engaged in the operation, management,

ownership and/or control of Golden LivingCenter – Winchester located in Franklin County,

Tennessee with its principal place of business located at 1000 Fianna Way, Ft. Smith, Arkansas

72919. Defendant GGNSC Holdings’ business of owning, operating, managing and maintaining

nursing homes, healthcare, and long-term care facilities, including the Facility, during all times

material to this lawsuit, serves as the basis for the causes of action set forth in this Complaint for

Damages. Defendant GGNSC Holdings may be served with legal process through its registered

agent for service of process, Corporation Service Company, 2908 Poston Avenue, Nashville,

Tennessee 37203-1312. Defendant GGNSC Holdings is also the Limited Liability Company

Member of Co-Defendants Golden Gate, GGNSC Administrative, and GGNSC Golden Gate

Ancillary.

       19.     On information and belief, Defendant 360 Healthcare is and was at all times

relevant hereto engaged in the operation, staffing, management, ownership and/or control of

Golden LivingCenter – Winchester located in Franklin County, Tennessee with its principal

place of business located at 1000 Fianna Way, Ft. Smith, Arkansas 72919. Defendant 360

Healthcare also provided employees, agents and/or staff to the Facility during all times relevant

to this Complaint.     Defendant 360 Healthcare’s business of owning, staffing, operating,

managing and maintaining nursing homes, healthcare, and long-term care facilities, including the

Facility, during all times material to this lawsuit, serves as the basis for the causes of action set



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forth in this Complaint for Damages. Defendant 360 Healthcare may be served with legal

process through its registered agent for service of process, Corporation Service Company, 2908

Poston Avenue, Nashville, Tennessee 37203-1312.

       20.     One man, Ronald E. Silva, is the de facto manager and owner of the Corporate

Defendants and controlled or had the right to control the financial operations of these entities

through his hedge fund, Fillmore Capital Partners, LLC, and as such his decisions individually

and through his control over the Corporate Defendants impacted the care at the Facility and

caused injury to Freeman M. Frothingham, Sr.

                                      IV. VENUE & JURISDICTION
       21.     The Corporate Defendants’ contacts with the State of Tennessee form the basis of

personal jurisdiction in this case.

       22.     The injuries forming the basis of this lawsuit were a product of the clinical,

corporate and/or financial policies designed, formulated, and implemented by the Corporate

Defendants.

       23.     All injuries, acts, omissions and events which form the basis of this Complaint

occurred or had their end result in Winchester, Franklin County, Tennessee.

       24.     Venue is proper pursuant to Tenn. Code Ann. § 20-4-101, because the action was

brought in Franklin County, Tennessee where the cause of action arose.

                                          V. NOTICE

       25.     Plaintiff affirmatively pleads that the Tennessee’s Medical Malpractice Act’s

notice and other requirements as set forth in TENN. CODE. ANN. § 29-26-121 are unconstitutional.

       26.     Alternatively, the only Defendant that the notice and other requirements as set

forth in TENN. CODE. ANN. § 29-26-121 apply to in this matter is GGNSC Winchester, and the



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only claim that such provisions apply to is matter is the claim for medical malpractice set forth in

this Complaint for Damages.

       27.     The Affidavit of Jennaca Smith is attached as Exhibit A to this Complaint for

Damages pursuant to TENN. CODE. ANN. § 29-26-121(a)(3)(B)(4).

       28.     Plaintiff affirmatively pleads that the Tennessee Medical Malpractice Act’s expert

consultation and other requirements as set forth in TENN. CODE. ANN. § 29-26-122(a) are

unconstitutional.

       29.     Alternatively, the only Defendant that the expert consultation and other

requirements as set forth in TENN. CODE. ANN. § 29-26-122(a) apply to in this matter is GGNSC

Winchester, and the only claim that such provisions apply to is the matter is the claim for

medical malpractice set forth in this Complaint for Damages.

       30.     A Certificate of Good Faith is attached as this Complaint for Damages as Exhibit

J pursuant to TENN. CODE. ANN. § 29-26-122(a).

                                   VI. FACTUAL ALLEGATIONS

A. Facts About Joint Venture/Enterprise/Corporate Control (Based Upon Information and
Belief)

       31.     Corporate Defendants were engaged in a joint venture/enterprise with one other

and other unknown, corporately interrelated entities or persons during Freeman M. Frothingham,

Sr.’s residency. Defendants shared an interest in the object and purpose of the undertaking for

which the Facility was operated. Plaintiff does not yet, and has no reason to know, of the

identify of the other corporate entities or persons that Defendants were involved with during all

times material to Freeman M. Frothingham, Sr.’s residency because such entities or persons have

been, upon information and belief, fraudulently, wrongfully and/or improperly concealed from

the public, including Freeman M. Frothingham, Sr.’s and his wrongful death beneficiaries.

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       32.     Corporate Defendants operated a joint venture/enterprise with each other and

these yet unknown entities or persons in an effort to streamline and advance their business

interests and collectively control the Facility.

       33.     Corporate Defendants operated collectively as a single business enterprise with

each other and these other unidentified entities or persons, carrying out a common business

objective and is jointly and severally liable for damages with these other unidentified entities or

persons to Plaintiff for injuries caused to Freeman M. Frothingham, Sr.

       34.     Corporate Defendants controlled the operation, planning, management and

quality control of the Facility with each other, or had the capacity to control such activities,

along with these unknown entities or persons.

       35.     The fiscal, financial and budgetary decisions, oversight, and policies handed

down by the Corporate Defendants over the Facility included, but was not limited to the

following: (1) control of marketing; (2) control of human resources department; (3) control of

management; (4) management of personnel employed by the facility (5) control of training; (6)

control of staffing; (7) creation of policies and procedures including manuals; (8) implementing

and carrying out policy and procedures handed down to the facility; (9) control of recruitment

and retention; (10) control of rates of pay or compensation; (11) control of federal and state

Medicare and Medicaid reimbursement; (12) control of quality care assessment and compliance;

(13) control over licensure and certification; (14) control of legal services; (15) control of

financial, tax, and accounting policies.




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       36.      The acts, control and authority alleged in the preceding paragraph were driven by

the Corporate Defendants’ ownership, operation, and control, either directly or through the

agency of each other and/or other diverse subordinates, agents, subsidiaries, servants, or

employees of the Facility.

       37.      The Corporate Defendants controlled the management and decision-making

concerning the operation of the Facility and exercised control over, or had the capacity to do so,

previously authorized and/or subsequently ratified the daily work of the custodial and skilled

employees at the Facility.

       38.      The Corporate Defendants exercised the control alleged, or had the right to

control as alleged, in the preceding paragraphs through the following practices:

             a. By providing an Administrator;

             b. By providing other management and supervisory personnel;

             c. By developing and/or providing policies and procedures which governed the
                staff’s performance and delivery of both custodial, non-medical and
                skilled/medical care to the residents in the facility, including decisions on which
                residents to admit and/or transfer;

             d. By developing and/or providing policies and procedures which determine which
                residents should be admitted, including those like Freeman M. Frothingham, Sr.
                who had an existing medical conditions that required constant attention and
                monitoring;

             e. By providing training to the staff and determining the skill level mix of direct care
                staff for each shift;

             f. By influencing and/or controlling management and budgetary decisions which
                directly affected the care, both custodial, direct non-medical care as well as
                medical skilled nursing care, of the residents at the facility;

             g. By establishing the guidelines and admission criteria for residents and policies for
                removing or transferring residents after admission; and

             h. By intentionally or recklessly failing to purchase comprehensive general liability
                coverage policy sufficient to satisfy claims like those of Freeman M.
                Frothingham, Sr.’s.

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       39.     The Corporate Defendants’ actions and inactions resulted in residents at the

Facility at issue, including Freeman M. Frothingham, Sr., from receiving adequate care.

       40.     The Corporate Defendants were de facto partners with each other and with these

unidentified entities and persons and thus liable for their actions by virtue of carrying on a

venture for their common benefit, with each party contributing property or services to the

venture, and each party with a community of interests in the profits of the venture.

       41.     The actions of the Corporate Defendants and each of its servants, agents,

employees and subordinates, as set forth herein, are imputed to each Corporate Defendant,

jointly and severally.

       42.     At all times relevant to this cause of action, the Corporate Defendants’ employees

and/or agents were acting within the course and scope of their employment.

       43.     The Corporate Defendants deviated from the duty of reasonable care owed to

residents such as Freeman M. Frothingham, Sr. in the following ways:

       a.      Failing to provide Freeman M. Frothingham, Sr. with a safe environment;

       b.      Failing to provide food and water;

       c.      Failing to properly train and supervise facility employees and staff;

       d.      Failing to properly staff the facility with sufficient numbers of professional and
               non-professional staff to protect Freeman M. Frothingham, Sr. from injury and
               neglect;

       e.      Failing to recognize the dangers associated with residents such as Freeman M.
               Frothingham, Sr.;

       f.      Failing to properly supervise and care for Freeman M. Frothingham, Sr.;

       g.      Failing to properly budget the facility to provide adequate staffing and supplies;

       h.      Failure of corporate and management agents to properly staff, hire, budget and
               train the facility’s employees to ensure that Freeman M. Frothingham, Sr. was
               provided the appropriate level of care and supervision that he required; and
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          i.     Such other acts or omissions that may be proven through discovery or at trial.

       B. Facts about the Resident, Freeman M. Frothingham, Sr.

          44.    Some of the facts giving rise to the claims alleged in this Complaint include, but

are not limited to, the failure, during late 2010-early 2011, of the Corporate Defendants to

provide adequate and appropriate: assessments, reassessments, care planning, food, water,

prevention of fecal impaction, supervision, documentation, hygiene, assistance with activities of

daily living, turning and repositioning, prevention of pressure sores, infection, pain assessments,

access to necessary health care, and custodial care. Additional injuries include, but are not

limited to several large, foul smelling and infected pressure ulcers, as well as fecal impaction and

death.

C. Facts relative to Ordinary Negligence & TAPA

          45.    Freeman M. Frothingham, Sr. required assistance with his activities of daily living

including the most basic activities such as turning, movement, eating, drinking, ambulating,

grooming, and going to the bathroom.

          46.    Defendants were aware of Freeman M. Frothingham, Sr.’s condition and his need

for assistance with basic, non-medical, custodial activities of daily living, or reasonably should

have been aware and had a duty to meet Freeman M. Frothingham, Sr.’s needs or else discharge

him to an appropriate facility that could meet his needs.

          47.    Defendants failed to consistently provide sufficient numbers of adequately trained

and skilled nursing and custodial personnel, and as a result the specific custodial needs of

Freeman M. Frothingham, Sr. could not be met, which accelerated the deterioration of his health

and physical condition beyond that caused by the normal aging process.




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       48.     Defendants failed to exercise reasonable care in meeting Freeman M.

Frothingham, Sr.’s most basic, non-medical, custodial needs causing injury to him.

       49.     Defendants failed to adequately assist Freeman M. Frothingham, Sr. when

needed, resulting in multiple pressure sores and a fecal impaction.

       50.     Defendants failed to adequately move Freeman M. Frothingham, Sr.’s limbs,

resulting in painful pressure sores.

       51.     The Facility failed to keep the body of Freeman M. Frothingham, Sr. clean and

dry and free of urine and feces, causing great lost of dignity and respect and very poor hygiene

and other injuries.

       52.     The Facility failed to provide adequate food within Freeman M. Frothingham,

Sr.’s meal plan and failed to make it available to him and assist him in eating it when needed.

       53.     The Facility failed to provide adequate water and make it available for Freeman

M. Frothingham, Sr. to drink and assist him in drinking when needed.

       54.     Plaintiff alleges malnourishment and dehydration as a fact relative to ordinary

negligence because the assistance that Freeman M. Frothingham, Sr. needed in this regard was

assisting in holding a glass of water so that he could drink and assistance in getting food from his

plate into his mouth, none of which constitutes medical care but is basic care.

       55.     Staffing problems and difficulties at the Facility, as well as resultant resident

neglect was reported up the chain of command from the most direct hands-on caregivers.

       56.     Corporate Defendants controlled the budget and the operation of the Facility

recklessly disregarded warnings so as to put priority of themselves and their own profits before

residents and their care including as Freeman M. Frothingham, Sr.




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       57.     Corporate Defendants’ decisions to prioritize profit over residents at the Facility

directly caused humiliating injuries and death to Freeman M. Frothingham, Sr.

       58.     As a direct and proximate result of the failure to meet his most basic custodial

needs, Freeman M. Frothingham, Sr. suffered from multiple humiliating dignity violations

including but not limited to poor hygiene, malnourishment, dehydration, pressure sores, fecal

impaction, abuse and neglect, and death.

D. Facts relative to Medical Negligence

       59.     The Facility was chronically without a sufficient number of skilled nursing staff

to meet the nursing and medical needs of residents including Freeman M. Frothingham, Sr.

       60.     Without sufficient numbers of adequately trained skilled nursing personnel, the

specific nursing and medical needs of Freeman M. Frothingham, Sr. could not be met, which

accelerated the deterioration of his health and physical condition beyond that caused by the

normal aging process.

       61.     Defendants did not meet the skilled nursing and medical needs of Freeman M.

Frothingham, Sr. within the standard of care for a nursing home in the medical community or

similar medical community where the facility at issue is located.

       62.     As a direct and proximate result of the failure to meet the nursing and medical

needs of Freeman M. Frothingham, Sr. he became malnourished and dehydrated, developed

infections and pressure sores, and resulted in pain, suffering, permanent impairment, and death.

       63.     The staffing difficulties and problems in the Facility and the failure to provide

skilled nursing care related to the medical treatment were reported and communicated up the

chain of command.




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       64.     Defendants’ control over the budget and the operation of the Facility recklessly

disregarded warnings so as to prioritize their own desire for profits ahead of the needs of

Freeman M. Frothingham, Sr. and other residents like him from receiving quality skilled nursing

or medical care.

       65.     Corporate Defendants’ decisions to prioritize profit over residents at the Facility

directly caused skilled nursing and medical injury and death to Freeman M. Frothingham, Sr.

                                       VII. CAUSES OF ACTION

A.     Count One: Ordinary Negligence

       66.     Plaintiff incorporates the preceding paragraphs (excluding those relative to

medical negligence), as if fully set out in this claim for ordinary negligence.

       67.     Defendants owed a duty of reasonable care to residents such as Freeman M.

Frothingham, Sr. to provide custodial care and services and supervision and oversight within

accepted standards of care of facilities like the one at issue.

       68.     Defendants owed a duty to their residents, including Freeman M. Frothingham,

Sr., to hire, train, educate, oversee and supervise employees to deliver custodial care and services

to residents in a safe, beneficial and dignified manner, as well as to consistently provide

sufficient numbers of staff to meet Freeman M. Frothingham, Sr.’s needs.

       69.     Defendants breached their duty owed to their residents, including Freeman M.

Frothingham, Sr., and were negligent in their custodial care and treatment of Freeman M.

Frothingham, Sr. through their acts or omissions relevant to custodial care.

       70.     Defendants were ordinarily negligent in their custodial care and treatment of

Freeman M. Frothingham, Sr. through their acts or omissions, which include, but are not limited

to the following:


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             a. Failure to provide Freeman M. Frothingham, Sr. with basic and necessary
                custodial non-medical care and services;

             b. Failure to take reasonable steps to prevent, eliminate, and correct custodial
                deficiencies and problems;

             c. Failure to protect Freeman M. Frothingham, Sr. from abuse and neglect;

             d. Failure to keep Freeman M. Frothingham, Sr. clean, comfortable and well-
                groomed;

             e. Failure to treat Freeman M. Frothingham, Sr. with kindness, dignity and respect;

             f. Failure to provide consistently provide sufficient numbers of staff; and

             g. Failure to adequately assess, evaluate, and supervise non-nursing direct hands on
                care personnel so as to ensure that Freeman M. Frothingham, Sr. received
                appropriate custodial care in accordance with Defendant’ policies and procedures
                that they created and implemented and advertised.

       71.      The injuries Freeman M. Frothingham, Sr. suffered were a proximate result of the

acts or omissions carried out by Defendant, singularly and in combination with each other.

B. Count Two: TAPA

       72.      Plaintiff incorporates the preceding paragraphs (excluding those relative to

medical negligence), as if fully set out in these claims for Plaintiff’s private action for relief for

Defendants’ violations of the Tennessee Adult Protection Act (“TAPA”). Tenn. Code Ann. §

71-6-101 et. seq.

       73.      At all times during Freeman M. Frothingham, Sr.’s residency at Defendants’

Facility, he was an “elderly person” and/or a “disabled person” as defined by TAPA. Tenn.

Code Ann. § 71-6-120.

       74.      During Freeman M. Frothingham, Sr.’s residency at the Facility, Defendants

inflicted physical pain, injury, mental anguish on him or deprived him of the services by a

caretaker that was necessary to maintain the health and welfare of an adult, resulting in abuse,




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neglect or exploitation to Freeman M. Frothingham, Sr. as defined in Tenn. Code Ann. § 71-6-

102(1) and Tenn. Code Ann. § 71-6-102(8).

       75.     The acts or omissions of the Defendants as set forth herein occurred in the Facility

or were committed by staff of a Facility licensed or required to be licensed by the board licensing

health care facilities under T.C.A. Chapters 68 and 33.

       76.     Defendants were a “caretaker” of Freeman M. Frothingham, Sr. because they

assumed the responsibility to care for him voluntarily, by contract, or agreement within the

meaning of TAPA. Tenn. Code Ann. § 71-6-102(5)(A).

       77.     The acts or omissions of Defendants as set forth herein constitute “abuse or

neglect” as defined by TAPA.

       78.     Freeman M. Frothingham, Sr.’s injuries were proximately caused by acts or

omissions of custodial services that were necessary to maintain the health and welfare of

Freeman M. Frothingham, Sr.

       79.     Abuse, neglect or exploitation of any adult within the meaning of TAPA is

prohibited. Tenn. Code Ann. § 71-6-117 – § 71-6-119.

       80.     As an elderly person, Freeman M. Frothingham, Sr. was a member of the class

that TAPA is intended to protect.

       81.     The injuries suffered by Freeman M. Frothingham, Sr. are of the type that TAPA

was designed to prevent.

       82.     As a direct and proximate result of the acts and omissions of the Defendants as set

forth above, Freeman M. Frothingham, Sr. suffered mental anguish, extreme physical pain,

disfigurement, physical suffering, and physical injuries which include but are not limited to those

described herein, all of which were a result of custodial neglect.



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       83.     Violations of TAPA were the proximate cause of Freeman M. Frothingham, Sr.’s

injuries for which Plaintiff should be compensated.

C. Count Three: Medical Negligence

       84.     Plaintiff incorporates the preceding paragraphs (except for ordinary negligence

and TAPA) as if fully set out in this claims for medical malpractice.

       85.     Plaintiff brings this medical malpractice claim pursuant to the Tennessee Medical

Malpractice Act codified at Tenn. Code Ann. § 29-26-115 et seq.

       86.     Defendant owed a duty to residents such as Freeman M. Frothingham, Sr. to

provide skilled nursing care, treatment, services, and supervision within the recognized standards

of acceptable professional practice applicable to them in Franklin County, Tennessee or similar

communities.

       87.     Defendants owed a duty to their residents, including Freeman M. Frothingham,

Sr., to render skilled nursing care and services as a reasonably prudent and similarly situated

nursing home would rending, including, but not limited to providing care and services in a safe

and beneficial way.

       88.     Defendants owed a duty to assist all of their residents, including Freeman M.

Frothingham, Sr., in attaining and maintaining the highest level of physical, mental and

psychosocial well-being.

       89.     Defendants failed to meet the standard of care and violated their duty of care to

Freeman M. Frothingham, Sr. through mistreatment, abuse, neglect and deviations from the

applicable standard of care.

       90.     Reasonably prudent nursing homes, operating under the same or similar

conditions, would not have failed to provide this care.



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       91.     Each of the foregoing acts of medical negligence by Defendants were a proximate

cause of Freeman M. Frothingham, Sr.’s injuries, all of which were foreseeable to Defendants.

       92.     Defendants’ conduct breaching the duties they owed to Freeman M. Frothingham,

Sr. were negligent, grossly negligent, willful, wanton, malicious, reckless and/or intentional.

       93.     The injuries suffered by Freeman M. Frothingham, Sr. were a direct and

proximate result of the acts or omissions of Defendants, set forth above, singularly or in

combination with each other.

D. Count Four: Negligence Per Se

       94.     Plaintiff incorporates the preceding paragraphs, as if fully set out in these claims

for negligence per se.

       95.     Defendants were at all times material to this action operating and controlling a

licensed nursing facility subject to rules, statutes and regulations promulgated by the State of

Tennessee and the government of the United States.

       96.     Such rules, statutes and regulations, including but not limited to, Tenn. Code Ann.

§68-1-901, et seq. set forth the minimum standards and requirements of care for residents with

conditions similar to that of Freeman M. Frothingham, Sr.

       97.     Such rules, statutes and regulations provide for the treatment and establishment of

minimum standards of care for the purpose of preventing danger, harm and injury to individuals

like Freeman M. Frothingham, Sr..

       98.     Freeman M. Frothingham, Sr. was in the class of persons intended to be protected

by these statutes, rules and regulations which entitled her to adopt as the minimum standards of

care for measuring Defendants’ conduct and allows him to assert a claim of negligence per se




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and assert that as a matter of law the conduct of the Defendants amounted to negligence, which

proximately caused the severe injury of Freeman M. Frothingham, Sr.

                                        VIII. DAMAGES

       99.     Plaintiff incorporates the preceding paragraphs as if fully set out in these claims

for Damages.

       100.    Plaintiff asserts the above claims on behalf of himself and on behalf of the

wrongful death beneficiaries of Freeman M. Frothingham, Sr. pursuant to Tenn. Code Ann.

       101.    Plaintiff seeks compensatory and punitive damages against Defendants in an

amount to be determined by the jury, plus costs and other relief to which Plaintiff is entitled.

       102.    As a direct and proximate result of the negligence, recklessness, and acts or

omissions of the Defendants and/or their employees and/or agents, Freeman M. Frothingham, Sr.

was caused to suffer significant harms, losses, pain, suffering, physical injury and damages,

including but not limited to those listed in this Amended Complaint for Damages.

       103.    The longevity, scope and severity of Defendants’ failures and actions along with

their conscious indifferent actions with regard to the welfare and safety of helpless residents such

as Freeman M. Frothingham, Sr. constitute gross negligence, willful, wanton, reckless, malicious

and/or intentional misconduct, malice as such terms are understood in the law.

       104.    Such conduct was undertaken by Defendants without regard to the health and

safety consequences of residents such as Freeman M. Frothingham, Sr. that were entrusted to

Defendant’s care and for pecuniary gain.




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       105.    Such conduct by Defendants evidence such little regard for their duties of care,

good faith and fidelity owed to residents including Freeman M. Frothingham, Sr. as to raise a

reasonable belief that the acts and omissions were the result of conscious indifference to

Freeman M. Frothingham, Sr.’s rights and welfare.

       106.    Plaintiff is entitled to compensatory damages and costs, including reasonable

expenses, where it is proven Defendants are liable for abuse or neglect as defined in TAPA and

reasonable attorneys fees because clear and convincing evidence will establish the abuse and

neglect to Freeman M. Frothingham, Sr. resulted from intentional, fraudulent or malicious

conduct by Defendant. Tenn. Code Ann. § 71-6-120.

       107.    As a direct and proximate result of the negligence, recklessness, and acts or

omissions of the Defendants and/or their employees and/or agents, Freeman M. Frothingham, Sr.

was caused to suffer significant harms, losses, pain, suffering, physical injury and damages,

including but not limited to those listed in this Amended Complaint.

       108.    As a direct and proximate result of the negligence, recklessness, and acts or

omissions of the Defendants and/or their employees and/or agents, Freeman M. Frothingham,

Sr.’s wrongful death beneficiaries were caused to suffer harms, losses, injuries and damages,

including but not limited to the loss of guidance, comfort, advice and any other item of injury or

damage as provided for by the Tennessee Wrongful Death Act or otherwise under Tennessee

law.

                                      IX. JURY DEMAND

       109.    Pursuant to Rule 38.02 of the Tennessee Rules of Civil Procedure and the

Tennessee Constitution, Plaintiff demands a jury to try all issues so triable.




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                                  X. PRAYER FOR RELIEF

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that Defendants

be cited to appear and answer herein, that this action be set down for trial by jury, and that

Plaintiff recover a judgment against Defendants for damages in such amount as the jury

determines fair and reasonable together with prejudgment and post judgment interest, costs of

suit, attorneys’ fees, and such other relief to which Plaintiff shows herself entitled and

specifically requests the following:

       110.        That proper process and service be issued as provided by law;

       111.    That a judgment in favor of Plaintiff for compensatory damages against

Defendants in the amount of Seven Hundred and Fifty Thousand Dollars and No/100

(750,000.00) or at a greater amount to be determined by a jury against Defendants;

       112.    That a judgment in favor of Plaintiff for punitive damages against Defendants in

the amount of Seven Hundred and Fifty Thousand Dollars and No/100 (750,000.00) or at a

greater amount to be determined by a jury sufficient to punish Defendants for its egregious

conduct and to deter Defendants and others from repeating such atrocious conduct;

       113.    That Plaintiff receive all general and special damages caused by the alleged

conduct of Defendants;

       114.    That Plaintiff be awarded his attorneys’ fees and costs of litigating this case,

including attorneys’ fees as specifically provided for in Tenn. Code Ann. § 71-6-101, et seq.;

       115.    That Plaintiff be awarded any discretionary costs in this cause; and,

       116.    That Plaintiff be awarded any and all other relief that the Court deems

appropriate.




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       Dated September 10, 2012.

                                             Respectfully Submitted,



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                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been served by the Court’s electronic
filing system on:

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